                Case: 1:18-cv-01489 Document #: 37-8 Filed: 07/26/18 Page 1 of 3 PageID #:1091




Home    Investor Relations    Information on KBC Bank



Information on KBC Bank




         KBC Bank versus KBC Group




   The simplified schematic shows KBC Group's legal structure, which has one single entity
   – KBC Group NV – in control of two underlying companies, viz. KBC Bank and KBC
   Insurance. KBC Group’s shares are traded publicly on Euronext Brussels. All of KBC
   Bank’s shares are held (directly and indirectly) by KBC Group NV. Some of KBC Bank’s
   debt instruments are listed.




   At KBC Group, financial communication is organised at group-level. In order to fulfil
   transparency disclosures, the group also publishes – over and above KBC Group reports
      - annual andCase:
                   half-yearly  reports and other legal information for KBC Bank.
                        1:18-cv-01489 Document #: 37-8 Filed: 07/26/18 Page 2 of 3 PageID #:1091




              annual and interim reports



              general meetings



              financial calendar



              other information




      Share this




Quick links



Downloads



Contacts / Doc verification
                   Case: 1:18-cv-01489 Document #: 37-8 Filed: 07/26/18 Page 3 of 3 PageID #:1091




Legal disclaimer

Cookies                                                                                             © KBC 2018

Sitemap
